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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                :      Chapter 13

 SEAN N & CLAIRE S SINCLAIR

                       Debtor(s)                      :      Bky. No. 18-14703       -AMC

         ORDER DISMISSING CHAPTER 13 CASE AND SETTING DEADLINE FOR
          APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSES

    AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E. West,
  Standing Trustee (“the Trustee”), and after notice and hearing, it is hereby ORDERED that:

1. This chapter 13 bankruptcy case is DISMISSED.

2. Counsel for the Debtor(s) shall file a master mailing list with the Clerk of the Bankruptcy Court if
   such has not been previously filed.

3. Any wage orders previously entered are VACATED.

4. Pursuant to 11 U.S.C. §349(b)(3), the undistributed chapter 13 plan payments in the possession of
   the Trustee shall not revest in the entity in which such property was vested immediately before
   the commencement of the case. All other property of the estate shall revest pursuant to 11 U.S.C.
   §349(b)(3).

5. All applications for allowance of administrative expenses (including applications for allowance of
   professional fees) shall be filed within twenty (20) days of the entry of this Order.

6. Promptly after the expiration of the time period set forth in Paragraph 5 above, Counsel for
   the Debtor(s) shall file either: (a) a Certification of No Response confirming that neither an
   objection to the proposed compensation nor an application for administrative expense has been
   filed or (b) a Certification that an objection or an application has been filed (after which the Clerk
   shall schedule a hearing on all such applications).

7. If no Certification, as required above in Paragraph 6 has been entered on the docket within sixty-
   three (63) days of the entry of this Order, then the Standing Trustee shall: (a) if any applications
   for administrative expenses other than Debtor(s)’ Counsel’s have been filed, request a hearing
   thereon or (b) if no such applications have been filed, return the undistributed chapter 13 plan
   payments in his possession to Debtor(s) pursuant to 11 U.S.C. §1326(a)(2).




     Dated: May 2, 2023                                      ASHELY M. CHAN
                                                             U.S. BANKRUPTCY JUDGE
